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                      IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MINNESOTA

                                             SENTENCING
UNITED STATES OF AMERICA,                          )         COURT MINUTES - CRIMINAL
                     Plaintiff,                    )
                                                   )   Case No:        CR 21-134(1) DWF/TNL
              v.                                   )   Date:           October 21, 2021
                                                   )   Court Reporter: Renee Rogge
Joshua Cameron Hanes,                              )   Courthouse:     St. Paul
                              Defendant.           )   Courtroom:      7C
                                                   )   Time Commenced: 9:11 AM
                                                   )   Time Concluded: 10:16 AM
                                                   )   Time in Court: 1 Hour & 5 Minutes
                                                   )

Before Judge Donovan W. Frank, United States District Judge, at St. Paul, Minnesota.

APPEARANCES:

   For Plaintiff: David P. Steinkamp, Assistant United States Attorney
   For Defendant: Joshua Cameron Hanes, x CJA

   x Sentencing.

IT IS ORDERED:        Defendant is sentenced to:

Count No.      Plea        Verdict      BOP            AG         SR         PROB                HA
   2            X                     110 months                3 years
   3            X                     110 months                5 years

   Said terms to run x concurrently.

   x Special conditions of: See J&C for special conditions
    x Defendant sentenced to pay:
              x Special assessment in the amount of $200.00.

    x Plea and plea agreement accepted.
    x On Motion of the Gov't., Count 1 of the indictment is dismissed.
    x Defendant remanded to the custody of the U.S. Marshal.


                                                                                                   s/L. Sampson
                                                                                              Courtroom Deputy
